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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF ALABAMA
                               SOUTHERN DIVISION

UNITED STATES OF AMERICA                         )
                                                 )
vs.                                              )   CRIMINAL ACTION NO. 09-00240-KD
                                                 )
MADELYN ALOMA                                    )

                                             ORDER

       This matter is before the Court upon the defendant’s motion to vacate the Magistrate

Judge’s detention order of November 16, 2009. (Docs. 65 & 81). In the order of detention, the

Magistrate Judge found that defendant poses a serious risk of flight and that there were no other

conditions which would reasonably ensure defendant’s appearance at future court proceedings.

(Doc. 65). The Magistrate Judge further found that there was sufficient evidence that the

defendant represents a danger to the community and that there are no conditions that would

reasaonably assure the safety of the community such that detention is warranted. (Id.).

       Pursuant to the Local Rules for the Southern District of Alabama, the District Court

reviews an order of detention de novo. See LR 72.5(a)(3); see also United States v. Hurtado, 779

F. 2d 1467 (11th Cir. 1985). The Bail Reform Act, 18 U.S.C. § 3141, governs the release and

detention of a defendant prior to trial. Section 3142(f)(1) of that act entitles the Government to

move for detention if the defendant has been charged with one of the offenses enumerated in the

Act which Congress has determined warrant detention. Where a charged offense is described in

18 U.S.C. § 3142(f)(1), as in this case, there is a rebuttable presumption that no combination of

conditions will reasonably assure the safety of any other person or the community. See 18

U.S.C. § 3142(e). When considering pre-trial detention, the Court must decide whether there are
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conditions of release that will reasonably assure the appearance of the defendant and protect the

safety of any other person or the community. See 18 U.S.C. § 3142(e). Factors relevant to this

inquiry are: (1) the nature and circumstances of the offense(s), including whether the offense(s)

are a crime of violence or involve a narcotic drug, (2) the weight of the evidence, (3) the history

and characteristics of the defendant and (4) the nature and seriousness of the danger posed by the

defendant's release. See 18 U.S.C. § 3142(g). Further, the Court need not conduct a hearing

unless factual issues remain unresolved or unless the Court deems additional evidence is

necessary. United States v. King, 849 F.2d 485 (11th Cir. 1988).

       The defendant argues that the Magistrate Judge: relied excessively on the presumption

contained in Section 3142(e); erred in determining that the “record [wa]s devoid of evidence

countering the statutory presumption” of danger to the community, “aside from the Defendant’s

lack of a lengthy criminal history”; and incorrectly assessed the defendant’s flight risk.

       The Court has conducted a de novo review of the pleadings, including the defendant’s

request that the Court order an investigation by pre-trial services into the suitability of third-

party custodians (Doc. 54) and the letters submitted by the defendant verifying her employment

several years ago (Doc. 124-1), as well as the order of detention from which defendant appeals

(Doc. 65) and the taped recording of the detention hearing held before Judge Bivins on

November 13, 2009. The undersigned concludes that the Magistrate Judge’s factual findings are

supported and her legal conclusions are correct.

       Accordingly, pursuant to the authority of United States v. King, 849 F.2d 485 (11th Cir.

1988), the Court hereby ADOPTS the reasons as set forth in the Magistrate Judge’s order of

detention, AFFIRMS the Magistrate Judge’s decision to detain the defendant pending trial, and
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DENIES the defendant’s request for a second evidentiary hearing.

       DONE this 16th day of December, 2006.

                                           s / Kristi K. DuBose
                                           KRISTI K. DuBOSE
                                           UNITED STATES DISTRICT JUDGE
